                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

                                  )
    IN RE: REALPAGE, INC., RENTAL )                          Case No. 3:23-md-3071
    SOFTWARE ANTITRUST LITIGATION )                          MDL No. 3071
    (NO. II)                      )
                                  )                          JURY DEMAND
                                  )
                                  )                          Chief Judge Waverly D. Crenshaw, Jr.
                                  )
                                  )                          This Document Relates to:
                                  )                          ALL CASES
                                  )

      STATUS UPDATE CONCERNING PERSONAL JURISDICTION AND VENUE
                             MATTERS

        On June 21, 2023, in connection with motions to dismiss the original consolidated Class

Action Complaint, Defendants filed their Notice of Number and Nature of Anticipated Motions,

wherein they identified particular Defendants who intended to file motions to dismiss based on

lack of personal jurisdiction and/or venue challenges. (Dkt. 297 at 6-7.) Per the Court’s June 22,

2023 Order (Dkt. 298), the parties conferred, resulting in a stipulation between Plaintiffs and

certain Defendants (the “Stipulating Defendants”), to defer motion practice on the issues of

personal jurisdiction and venue for 180 days (“Stipulation”) (Dkt. 317). 1 On July 10, 2023, the



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 The Stipulating Defendants are: Essex Property Trust, Inc. and Essex Management Corporation; Cortland
Management, LLC; Equity Residential; Security Properties, Inc.; Rose Associates Inc.; ZRS Management,
LLC; Thrive Communities Management, LLC; Mid-America Apartment Communities, Inc.; Prometheus
Real Estate Group, Inc.; Sares Regis Group Commercial, Inc.; Morgan Properties Management Company,
LLC and Morgan Properties, LP; Dayrise Residential, LLC; Independence Realty Trust, Inc.; Conti Capital;
Kairoi Management, LLC; ConAm Management Corporation; Camden Property Trust; RPM Living, LLC;
B/T Washington, LLC d/b/a Blanton Turner; Highmark Residential, LLC; Allied Orion Group, LLC;
Windsor Property Management Company; Greystar Real Estate Partners, LLC; Lincoln Property Company;
and Sherman Associates, Inc.
 Of these Stipulating Defendants, Plaintiffs subsequently: (1) substituted corrected entities for Security
Properties, Inc., Conti Capital, and Greystar Real Estate Partners; (2) named Mid-America Apartments,
L.P. alongside Mid-America Apartment Communities, Inc.; and (3) dismissed Essex Management
Corporation, Morgan Properties, LP, and B/T Washington, LLC d/ba Blanton Turner.
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Court entered an Order consistent with the Stipulation and directed that the parties—within 180

days of the issuance of the Order (i.e., by January 5, 2024)—submit a status report that would

either: (1) alert the Court that issues of personal jurisdiction and venue have been resolved; or (2)

propose a briefing schedule for the Court to resolve any remaining motions concerning personal

jurisdiction and venue with respect to the Stipulating Defendants (Dkt. 353).

       Continued discussions between the parties led to Plaintiffs filing an Unpposed Omnibus

Motion to Dismiss Certain Defendants and Substitute Corrected Defendants (Dkt. 528), which

requests were adopted in the Court’s Order dated September 11, 2023 (Dkt. 536), and resolved

many of the outstanding personal jurisdiction and/or venue issues.

       On October 9, 2023, certain of the Stipulating Defendants (the “Moving Defendants”)

joined Defendants’ Motion to Dismiss Tennessee Actions for Lack of Personal Jurisdiction and

Improper Venue (“PJ MTD”) (see Dkt. 585, at 1). 2

       In compliance with the Court’s July 10, 2023 Order, Plaintiffs have conferred with the

Stipulating Defendants that did not join the PJ MTD (the “Remaining Stipulating Defendants”). 3

As of the date of this filing, none of the Remaining Stipulating Defendants have informed Plaintiffs

that there are unresolved issues of personal jurisdiction and venue requiring motion practice.

       Accordingly, Plaintiffs respectfully inform the Court that all issues of personal jurisdiction

and venue as to the Stipulating Defendants have been resolved, save those raised in the PJ MTD,




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  The Moving Defendants are: ConAm Management Corporation, CONTI Texas Organization Inc., d/b/a
CONTI Capital, Essex Property Trust, Inc., Prometheus Real Estate Group, Inc., Rose Associates, Inc.,
Sares Regis Group Commercial, Inc., Sherman Associates, Inc., and Windsor Property Management
Company.
3
  The Remaining Stipulating Defendants are: Cortland Management, LLC; Equity Residential; ZRS
Management, LLC; Thrive Communities Management, LLC; Mid-America Apartment Communities, Inc.
and Mid-America Apartments, L.P.; Morgan Properties Management Company, LLC; Dayrise Residential,
LLC; Independence Realty Trust, Inc.; Kairoi Management, LLC; Camden Property Trust; RPM Living,
LLC; Highmark Residential, LLC; Allied Orion Group, LLC; and Lincoln Property Company.
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which remains pending before the Court.


Dated: January 5, 2024                    /s/ Tricia R. Herzeld
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                                CERTIFICATE OF SERVICE

       I hereby certify that on January 5, 2024, I caused the foregoing to be electronically filed

with the Clerk of the Court using the CM/ECF system, which will send notification of such filing

to the email addresses denoted on the Electronic Mail Notice List.

                                            /s/ Tricia R. Herzfeld
                                            Tricia R. Herzfeld




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